      Case 3:05-cr-00354-PAD     Document 641   Filed 11/28/06     Page 1 of 3



1                         UNITED STATES DISTRICT COURT
2                            DISTRICT OF PUERTO RICO

3    UNITED STATES OF AMERICA,
4
5         Plaintiff,
                                                Criminal No. 05-354 (JAF)
6         v.

 7   HECTOR RENE LUGO-RIOS (01);
 8   ANDRES CARRASQUILLO-COLON (02);
 9   ELBA GARCIA-PASTRANA (03);
10   FELIPE ROMAN-LOZADA (04);
11   JESUS CARABALLO-ORTIZ (05);
12   LUIS ANDINO-DELBREY (06);
13   FRANCISCO MARTINEZ-IRIZARRY
14   (07);
15   JUAN RAMOS-HERNANDEZ (08);
16   ENRIQUE VAZQUEZ-PRESTAMO (09);
17   JORGE L. URBINA-ACEVEDO (10);
18   JUAN ROLDAN-VEGA (11),

19        Defendants.

20

21                             ORDER ON FORFEITURE COUNTS

22        1.   It appears that the two real properties described in Count

23   One-Hundred and Forty-One of the Indictment belong to Héctor René

24   Lugo-Ríos and his wife Gladys Serrano-Quintana.

25        2.   It   is   not    clear   whether   any    of      the   seized    accounts

26   described in the Indictment and in Docket Document No. 557 at ¶ 3

27   belong to any of the defendants or are simply Union accounts that may

28   contain moneys originally destined to the Health Plan(s).

29        3.   There is also specific cash and jewelry seized from Héctor

30   René Lugo-Ríos, Andrés Carrasquillo-Colón, and Elba García-Pastrana.
      Case 3:05-cr-00354-PAD   Document 641   Filed 11/28/06   Page 2 of 3



     Criminal No. 05-354 (JAF)                                                     -2-


1         Regarding the above, the court intends to enter a forfeiture

2    judgment against the real properties, cash, and jewelry of Héctor

3    René Lugo-Ríos up to and including the amount of $5,802,693.00.                We

4    also intend to extend said judgment to any moneys belonging to or

5    claimed by Héctor René Lugo-Ríos in the seized accounts up to

6    $5,802,693.00.    The court does not intend to enter a forfeiture

7    judgment against seized Union accounts, other than in reference to

8    amounts contained therein that are Health Plan contributions.                Even

9    as to these, we will consider restitution of these amounts back to

10   the AAA or to any legitimately-established Health Plan consistent

11   with the original intent behind these moneys.

12        Regarding the other defendants and the forfeiture counts, the

13   court   intends   to   issue   a   judgment    against     any    interest     or

14   participation these defendants may have in said cash, jewelry or

15   seized accounts, jointly and severally against all of them, in the

16   amount of $5,802,693.00.

17        The parties are to respond and show cause, within the next ten

18   (10) days, as to why this action should not be taken.            The government

19   will explain why a separate, related civil forfeiture action is not

20   the best course of action.

21        This Order disposes of Docket Document Nos. 540 and 557.                 The

22   issue of forfeiture will not affect the previously-set sentencing

23   hearings.

24        IT IS SO ORDERED.
     Case 3:05-cr-00354-PAD   Document 641   Filed 11/28/06   Page 3 of 3



    Criminal No. 05-354 (JAF)                                               -3-


1        San Juan, Puerto Rico, this 28th day of November, 2006.

2                                            S/José Antonio Fusté
3                                             JOSE ANTONIO FUSTE
4                                            U. S. District Judge
